
92 N.Y.2d 1042 (1999)
Evelyn Konrad, Individually and on Behalf of Herself and All Other Similarly Situated Shareholders of 136 East 64th Street Corporation, Appellant,
v.
136 East 64th Street Corporation et al., Respondents. (And Another Action.)
Court of Appeals of the State of New York.
Submitted November 30, 1998
Decided January 14, 1999.
Motion, insofar as it seeks leave to appeal from that portion of the Appellate Division order that affirmed Supreme Court's denial of appellant's motion to renew, dismissed upon the ground that such portion of the order sought to be appealed *1043 from does not finally determine the action within the meaning of the Constitution; motion for leave to appeal otherwise denied.
